Case 2:16-cv-02153-MCA-LDW            Document 39-3        Filed 04/10/17    Page 1 of 2 PageID:
                                            208



 Eric I. Abraham (eabraham@hillwallack.com)
 Christina L. Saveriano (csaveriano@hillwallack.com)
 HILL WALLACK LLP
 21 Roszel Road
 Princeton, New Jersey 08540
 Telephone: (609) 924-0808
 Fax: (609) 452-1888

 Holly Ying Li (hyingli@goapogee.com)
 APOGEE LAW GROUP LLP
 401 North Michigan Avenue
 Suite 1200-1
 Chicago, IL 606011
 Telephone: (312) 273-4960
 Fax: (312) 834-7701

 Attorneys for Defendant/Counter-Claimant Cathy Trading LLC

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 INTERLINK PRODUCTS INTERNATIONAL
 INC.,

                Plaintiff/Counter-Defendant,            Civil Action No. 2:16-cv-02153-MCA-LDW

        v.                                              CERTIFICATION OF COUNSEL IN
                                                        SUPPORT OF DEFENDANT/COUNTER-
CATHY TRADING, LLC d/b/a WANTBA                         CLAIMANT CATHY TRADING, LLC’S
                                                        MOTION FOR LEAVE TO FILE AN
                Defendant/Counter-Claimant.             AMENDED ANSWER, AFFIRMATIVE
                                                        DEFENSES AND COUNTERCLAIMS

                                                        MOTION RETURN DATE: May 15, 2017


        I, Christina L. Saveriano, Esq., declare as follows:


        1.     I am an attorney at law of the State of New Jersey, a member of good standing of

 the bar of this Court, and am counsel with the firm of Hill Wallack, LLP, co-counsel to

 Defendant Cathy Trading Group LLC.
Case 2:16-cv-02153-MCA-LDW             Document 39-3        Filed 04/10/17     Page 2 of 2 PageID:
                                             209



        2.      I submit this declaration in support of Defendant Cathy Trading Group LLC’s

 Motion for Leave to File An Amended Answer, Affirmative Defenses and Counterclaims.


        3.      Attached hereto as Exhibit A is a true and correct copy of proposed Amended

 Answer, Affirmative Defenses and Counterclaims in a redlined version identifying the proposed

 amendments.


        4.      Attached hereto as Exhibit B is a true and correct copy of the proposed Amended

 Answer, Affirmative Defenses and Counterclaims in its final version.


        5.      Cathy Trading Group LLC sought consent for this filing from Plaintiff, however

 Plaintiff refused to consent to the amendment. As a result, Cathy Trading Group LLC seeks

 relief through the instant motion.


 I declare under penalty of perjury that the foregoing is true and correct.


 Executed on April 10, 2017
                                               By:     /s/ Christina L. Saveriano
                                                       Christina L. Saveriano
